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 June 2, 2023


 Hon. Cheryl L. Pollak
 United States Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East, Courtroom 13B-South
 Brooklyn, New York 11201

       Re: Sokolovsky v. Oorah, Inc. et al.
           Case No. 1:20-cv-04116


 Dear Honorable Judge Pollak:

         I write pursuant to Federal Rules of Civil Procedure 26, 30 and 37 and Rule 1 of the Court’s
 Motion Procedures and Rules, along with the parties’ deposition schedule agreed to during the
 April 18, 2023 Status Conference, memorialized in Dkt. 76. Unfortunately, the parties once again
 need the Court’s guidance regarding scheduling and conducting depositions. The parties met and
 conferred numerous times over the past three years regarding the scheduling of Plaintiff’s and
 Defendant Gittie Sheinkopf’s deposition, they met and conferred by Zoom during the second
 deposition of Plaintiff on June 1, 2023, regarding the rescheduling and length of Plaintiff’s
 deposition and they met and conferred again by email on June 1-2 regarding Sheinkopf’s refusal
 to sit for her deposition for a second time on a date previously agreed to in violation of that
 agreement, and a duly served Subpoena and Notice of Deposition. The parties are now at an
 impasse. Plaintiff seeks the Court’s guidance with the following motions.

        PROTECTIVE ORDER

         Plaintiff has sat for deposition on two days for ten hours, nine minutes and thirty-four
 seconds. Defendants contend they have the right to continue to depose her for a third day for more
 than three hours.

        Pursuant to Fed. R. Civ. P. 30, Plaintiff respectfully moves this Honorable Court for an
 order protecting Plaintiff from Defendants deposing her further, or, alternatively to limit
 Defendants’ time to depose Plaintiff.

        Pursuant to Rule 30(d), Motion to Terminate or Limit, and unless otherwise stipulated, a
 deposition is limited to 1 day of 7 hours. Id. Plaintiff’s Counsel certifies that on May 24, 2023,
 according to the videographer, Counsel for Oorah deposed Plaintiff for six hours, forty-nine
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 minutes and fifty-one seconds. During a brief discussion, Counsel for Defendant Gittie Sheinkopf
 (“Sheinkopf”) requested additional time to question Plaintiff. Plaintiff agreed to sit for a second
 day of deposition on the condition her deposition would be completed that second day.
 Defendants agreed.

         On June 1, 2023, Plaintiff sat for a second day of deposition that was to commence at 1:00
 p.m. However, Defendant Sheinkopf’s counsel was late, and the deposition commenced at
 approximately 1:40. Defendant Sheinkopf’s Counsel then deposed Plaintiff for an additional three
 hours, nineteen minutes and forty-three seconds, less short discussions between counsel during
 which Plaintiff’s Counsel warned Defendant Sheinkopf’s Counsel that he was beyond the time
 allowed in federal court for the deposition and asked him to avoid repetitive questioning.
 Plaintiff’s counsel further explained that the deposition needed to end by 6:00 p.m. so Plaintiff, a
 nursing student, could prepare for an exam the next day. The parties agreed to stop the deposition
 at 6:00 p.m. At the end of this second day of testimony, Defendant Sheinkopf’s Counsel stated
 that he needed at least three or more additional hours to depose Plaintiff. Defendant Oorah’s
 Counsel further indicated she had additional questions. Both Defendants’ Counsel contended they
 have the right to continue to depose Plaintiff for a third day.

         Plaintiff is a sexual abuse survivor and a nursing student. The scheduling of her depositions
 and the extended questioning have caused her considerable stress and have disrupted her schedule
 in nursing school. While Plaintiff fully recognizes that when one brings a lawsuit they must accept
 it will involve emotional stress and inconvenience, Plaintiff submits that Defendants deposing
 Plaintiff for more than ten hours without requesting leave of Court is unreasonable and warrants
 an order protecting her from further questioning by Defendants.

        Defendants’ extended questioning of Plaintiff beyond the allowable time has additionally
 deprived Plaintiff’s Counsel the opportunity to question Plaintiff and rehabilitate her. This
 materially prejudices Plaintiff.

         Therefore, Plaintiff respectfully moves this Honorable Court for an order protecting
 Plaintiff from Defendants deposing her further, or, alternatively, to limit Defendant’s time to
 depose Plaintiff.

        MOTION TO COMPEL

         Defendant Sheinkopf is the alleged perpetrator. Defendant Sheinkopf’s deposition was
 duly noted and she was duly subpoenaed for a second deposition on an agreed date and time, June
 5, 2023. Yet, for a second time, her counsel, days before the deposition stated his client will not
 appear for her deposition. See Exhibit 1 submitted herewith, wherein, Defendant Sheinkopf’s
 counsel informed Plaintiff’s Counsel, “. . . my client will not appear on Monday . . .” Plaintiff
 further incorporates by reference Dkt. 63 and Dkt. 67, wherein Plaintiff detailed previous
 difficulties with obtaining Defendant Sheinkopf’s deposition.

        Plaintiff seeks an Order of this Court: 1) compelling Defendant Sheinkopf to sit for
 deposition on a day certain; 2) for Defendant Sheinkopf to pay Plaintiff’s deposition cancellation
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 fees resulting from her refusal to sit for two scheduled depositions; and 3) for further relief the
 Court deems just.


        CONCLUSION

        Plaintiff respectfully requests that the Court enter the above-requested orders.

         Should the Court schedule a hearing or conference in this matter, Plaintiff requests that
 the Court consider Plaintiff’s Counsel Leander L. James is unavailable from June 14 through
 July 3, 2023, because he is attending mediation in the Rochester Diocese Bankruptcy case in
 New York City on June 15, then traveling to Houston, TX, for a three-week trial in the United
 States District Court for the Southern District of Texas.

                                                       Respectfully submitted,



                                                      JAMES, VERNON & WEEKS, P.A.

                                                             /s/ Leander L. James

                                                      By: _____________________
                                                          Leander L. James
